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 4   rsp@rspollocklaw.com
 5   Attorney for Defendant
     PETER SANTO CAPODIECI
 6
 7                                UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9                                          FRESNO DIVISION
10                                                  –ooo–
11
12   UNITED STATES OF AMERICA,                         CR. 1:14-cr-00228-LJO-SKO

13                   Plaintiff,

14   vs.                                               WAIVER OF DEFENDANT’S
                                                       APPEARANCE; ORDER
15   PETER SANTO CAPODIECI,
16                   Defendant.
17                                              /

18
            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant Peter Santo
19
20   Capodieci, hereby waives the right to be present in person in open court upon the hearing of any

21   motion or other proceeding in this case, including, but not limited to, when the case is set for
22
     trial, when a continuance is ordered, and when any other action is taken by the court before or
23
     after trial, specifically, appearances for any hearing regarding modification of conditions of
24
25   supervised release.

26          Defendant hereby requests the Court to proceed during every absence which the Court
27   may permit to this waiver; agrees that the defendant’s interests will be deemed represented at all
28
     times by the presence of the defendant’s attorney, the same as if the defendant were personally


                                                      1
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     present; and further agrees to be present in court ready for trial any day and hour the Court may
 1
 2   fix in the defendant’s absence.

 3          The defendant further acknowledges being informed of the rights under Title 18 U.S.C.
 4
     Sections 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and
 5
     dates under that Act without the defendant’s personal presence.
 6
 7          The original signed copy of this waiver will be preserved by the attorney undersigned.

 8   Date: December 4, 2014                       /s/ PETER SANTO CAPODIECI
                                                  PETER SANTO CAPODIECI
 9
     I agree and consent to my Client’s waiver of appearance.
10
11   Date: December 4, 2014                       /s/RANDY SUE POLLOCK
12                                                RANDY SUE POLLOCK

13
                                                  ORDER
14
15
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the appearance of
16
     defendant PETER CAPODIECI is WAIVED for any proceeding that the Court may permit his
17
18   absence.

19          IT IS FURTHER ORDERED THAT defendant PETER CAPODIECI’s interests will be
20   deemed represented at all times by the presence of his attorney, Randy Sue Pollock, the same as
21
     if the defendant were personally present in court.
22
            IT IS FINALLY ORDERED that defendant will be present in Court ready for trial any
23
24   day and hour the Court may fix in the defendant’s absence.

25
     IT IS SO ORDERED.
26
27      Dated:     December 9, 2014                               /s/ Sheila K. Oberto
                                                          UNITED STATES MAGISTRATE JUDGE
28


                                                      2
